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                                       FIGURE 1




 From p. 95 of the Expert Report of Mark A. Israel dated June 4, 2022 (“Israel Report”).
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                                      FIGURE 2




 From p. 102 of the Israel Report.
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                                     FIGURE 3




 From p. 59 of the Israel Report.
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                                     FIGURE 4




 From p. 62 of the Israel Report.
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                                     FIGURE 5




 From p. 47 of the Israel Report.
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                                     FIGURE 6




 From p. 52 of the Israel Report.
